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Exhibit E
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                                •
                                    SUPERIOR COURT OF CALIFORNIA
                                                                               f ILED
                                                                                  FEB022004
                                          COUNTY OF NAPA
                                                                                            Superior Court
     CHARISSA W. and                               )
     NICOLED.,                                     )
                                                   )
                  Plaintiffs,                      )
                                                   )
                                                   )
           vs.
                                                   )        Case No.: 26-22191
                                                   )
                                                   )
     WATCHTOWER BIBLE AND TRACT                    )
     SOCIETY OF NEW YORK, INC., et al.,            )
                                                   )
     _______________
                  Defendants.                      )
                                                   )

                      SECOND AFFIDAVIT OF RICHARD E. ABRAHAMSON


     STATE OF NEW YORK)
                                ) ss.:
     COUNTY OF KINGS            )

           I, Richard E. Abrahamson, after being duly sworn, depose and state as follows:

     1.    I am over 18 years of age, of sound mind, and competent to make this Affidavit. I have
           personal knowledge of the matters contained herein, and they are all true and correct.

     2.    I am the secretary and treasurer of Watch Tower Bible and Tract Society of Pennsylvania
           (..Watch Tower PA"), who is a Defendant in this proceeding.

     3.    Watch Tower PA coordinates the worldwide activities of Jehovah's Witnesses by
           providing copyrighted literature (text and images for various publications) and financial
           support. Historically. Watch Tower PA bas also given powers of attorney to individuals
           in foreign countries to act on its behalf where the national laws require the appointment
           of a ••chief' religious person. Few, if any, foreign countries now have such requirements.

     4.   In most countries where Jehovah's Witnesses are legally recognized, a local corporation
          has been formed to be legally responsible for the various appointments of individuals and
          is used to communicate with congregations in that country.




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5.    Watch Tower PA has never acted in a supervisory capacity to any congregation in the
      United States, other than providing infrequent spiritual direction by mail. Additionally,
      Watch Tower PA has never been responsible for the appointment of individual Elders or
      others in the United States. Furthermore, Watch Tower PA is not responsible for any
      assemblies or conventions of Jehovah's Witnesses held in California or in the United
      States.

6.    Watch Tower PA, as a recognized charity, has received donations from individuals in
      California. Some of these donations are in the form of real property. In many cases, the
      individuals have deeded a part of their property to Watch Tower PA, but have retained a
      life estate in the property donated.

7.    Watch Tower PA administers a fund for the construction of church buildings entitled the
      Kingdom Hall Fund. Through this fund, Watch Tower PA has provided financial
      assistance to congregations in the United States and around the world to build their places
      of worship known as Kingdom Halls and Assembly Halls. In return for the financial
      assistance, the congregations have executed promissory notes, or some mortgages before
      1988, agreeing to pay back the loans.

8.    Watch Tower PA has lent money to congregations in California through its Kingdom
      Hall Fund to assist in the construction of places of worship and received promissory notes
      or mortgages in return for the money lent. However, these financing arrangements have
      been conducted exclusively through the mails and over the telephone.

9.    Watch Tower PA does not hold, and has never held, promissory notes or mortgages from
      the Napa Congregation of Jehovah's Witnesses in Napa, California, or from the Oak
      Knoll Congregation of Jehovah's Witnesses in Napa, California.

10.   Watch Tower PA administers a fund named the Kingdom HaJl Assistance Arrangement
      ("KHAA''). The KHAA is a fund created from voluntary donations and used for the
      discretionary purposes of Watch Tower PA. These discretionary purposes include paying
      for uninsured property damage to Kingdom Halls as well as expenses and liability claims
      arising from accidents at Kingdom Halls. No premiums have ever been collected for the
      KHAA. Similarly, the KHAA does not guarantee payment to any person or legal entity
      that contributes to the fund. Finally, the KHAA has been used by Watch Tower PA in all
      50 States in the United States and in many countries around the world.

11.   The Watchtower Bible School of Gilead ("School") has been owned and operated by
      Watchtower Bible and Tract Society of New York, Inc. ("WTNY'') since its inception in
      1942. The School does not have income, in the classical sense, because students do not
      pay tuition or other fees. WINY underwrites all expenses for the School. All invitations
      to the School have been sent by WTNY to students in the United States and around the
      world since its inception.




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12.    Watch Tower PA maintains its own separate corporate meetings. Watch Tower PA
       maintains its own separate corporate books and records. Members of the Board of
       Directors and Officers of Watch Tower PA do not sit on any other corporations,
       including WTNY or Christian Congregation of Jehovah's Wiblesses ("CCJW").

13.    Watch Tower PA prepares its own annual financial reports. These financial reports are
       prepared separately from all other corporations, including WTNY and CCJW.

14.    Watch Tower PA maintains separate bank accounts from all other corporations. Watch
       Tower PA does not commingle funds with any other corporation.

15.   Watch Tower PA has provided funds to other corporations, including WTNY and CCJW.
      These funds have been recorded as long-term receivables by Watch Tower PA and long-
      term payables by the other corporations. Watch Tower PA has also made gifts to other
      corporations and recorded them as such.

16.    Watch Tower PA is not held out as liable for the debts of any other corporation, including
       WTNY or CCJW.

17.    Watch Tower PA occupies WlNY office space under a written lease. To some extent,
       some of the same personnel serve all of the corporations in providing legal, accounting,
       and risk management services.

18.   Watch Tower PA maintains all corporate fonnalities required by Pennsylvania law.
      Watch Tower PA holds annual meetings of members and directors and documents all its
      meetings (annual, regular, or special), and all significant corporate actions.


SIGNED this tire 2(,tl. day of    ~ '"'~         , 2004.




                                            Secretary-Treasurer of Watch Tower Bible and
                                            Tract Society of Pennsylvania



SUBSCRIBED AND SWORN TO BEFORE ME on the 2,.(,-tl\ day of .kn\lQf'\j , 2004, to certify
which witness my hand and official seal.




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  1                                            PROOF OF SERVICE

 2            I am a citizen of the United States and am employed in Sacramento County, where this mailing
      occurs. My business address is 1133S Gold Express Drive, Suite 105, Gold River, California 95670. I
 3    am over the age of eighteen ( 18) and not a party to this within cause.

 4          On January 30, 2004, the following ordinary business practice., I served the foregoing
      document(s) described as:
 5
                        SECOND AFFIDAVIT OF RICHARD E. ABRAHAMSON
 6
      in the following manner, by placing a true copy(ies) thereof in a sealed envetope(s) addressed as follows:
 7
 8    RudyNo)en
      Nolen Saul Brelsford
 9    350 University Ave., Suite 280
      Sacramento, CA 9S825
10
      XXX (BY MAIL)            I caused such envelope(s) with First Class postage thereon fully
11             prepaid to be placed in the U.S. Mail in Gold River, California. I am readily
              familiar with my employer's nonnal business practice for collection and processing of
12            correspondence and other material for mailing with the U.S. Postal Service, and that practice is
              that said material is deposited with the U.S. Postal Service the same day as the day of collection
13            in the ordinary course of business.
14            (BY FEDERAL EXPRESS) I caused such envelope(s) to be hand-delivered by
              an authorized Federal Express agent, this date to the office(s) of the addressee(s).
15
              (BY FACSIMILE) I caused to be transmitted the aforementioned document,
16            via facsimile machine, to each of the above-listed parties' FAX numbers between
              the hours of 9:00 a.m. and 5:00 p.m. on _ _ _ _ _ and received verification of each
17
              complete transmission.
18
              [ ]      (State) I declare under penalty of perjury under the Jaws of the State of California that
19    the above is true and correct.

20           []       (Federal) I declare that I am employed in the office of a member of the Bar of this Court
      at whose direction the service was made.
21
              Executed on January 30, 2004, at Gold River, California.
22

23
                                                        By
.24                                                              Michelle A. Tinker
25
26
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28
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                          SUPPLEMENTAL MEMORANDUM OF POINTS AND AUTHORITIES
                                    IN SUP~~S~F MOTION TO QUASH




                                                                                   CAEKAERT/MAPLEY 006380
